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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

In re                                                )     Case No. 05-3817-3F1

WINN-DIXIE STORES, INC., et al.,                     )     Chapter 11

                 Debtors.                            )     Jointly Administered



                                   NOTICE OF FILING AND HEARING


        1.       Pursuant to the Motion for Order (a) Authorizing the Sale of Pharmaceutical Prescriptions

and Inventory Free and Clear of Liens, Claims and Interests and (b) Granting Related Relief, filed with the

Court on July 1, 2005 (the “Motion”) (Docket No. 1963), Winn-Dixie, Inc. and its subsidiaries and affiliates as

debtors and debtors-in-possession (collectively, the “Debtors”), provide notice of their intent to enter into a

purchase and sale agreement substantially in the form attached with Walgreen Co. for $1,076,000.00 for the

pharmaceutical records plus the cost of the pharmaceutical inventory (to be determined) (the “Sale”).

                                              Notice of Hearing

        2.       A hearing to approve the Sale is scheduled for July 29, 2005 at 10:00 a.m. E.T. before the

Honorable Jerry A. Funk, United States Bankruptcy Judge for the Middle District of Florida, 300 North Hogan

Street, Courtroom 4D, Jacksonville, Florida 32202.

Dated: July 21, 2005

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& FLOM LLP


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